Case 3:17-cv-00108-GPC-MDD Document 1153 Filed 04/15/19 PageID.123082 Page 1 of 4



  1   Christina N. Goodrich (SBN 261722)
      christina.goodrich@klgates.com
  2   K&L GATES LLP
      10100 Santa Monica Boulevard
  3   Eighth Floor
      Los Angeles, CA 90067
  4   Telephone: (310) 552 5000
      Facsimile:     (310) 552 5001
  5   Email: christina.goodrich@klgates.com

  6   Attorney for Lenovo (United States), Inc. and
      Motorola Mobility LLC
  7

  8

  9

 10                                UNITED STATES DISTRICT COURT

 11                              SOUTHERN DISTRICT OF CALIFORNIA

 12

 13
       IN RE: QUALCOMM ANTITRUST                      Case No. 3:17-cv-0108-GPC-MDD
 14    LITIGATION                                     NOTICE REGARDING MOTION TO SEAL
 15                                                   EXHIBITS CONTAINING CONFIDENTIAL
                                                      INFORMATION OF NON-PARTIES
 16                                                   LENOVO (UNITED STATES), INC. AND
                                                      MOTOROLA MOBILITY LLC FOR USE
 17                                                   AT TRIAL

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


             LENOVO & MOTOROLA’S NOTICE REGARDING SEALING, No. 3:17-cv-00108-GPC-MDD
Case 3:17-cv-00108-GPC-MDD Document 1153 Filed 04/15/19 PageID.123083 Page 2 of 4



  1          On April 14, 2019, counsel for Plaintiff Apple, Inc. (“Apple”) and Compal Electronics, Hon

  2   Hai or FIH, Pegatron, and Wistron (the “Contract Manufacturers”) notified undersigned counsel for

  3   non-parties Lenovo (United States), Inc. (“Lenovo”) and Motorola Mobility LLC (“Motorola”) of

  4   (1) two exhibits that Apple and/or the Contract Manufacturers will reference in their opening

  5   statements; and (2) deposition designations and certain exhibits that Apple and/or the Contract

  6   Manufacturers intend to introduce at trial on April 16, 2019 or thereafter.

  7          Specifically, Apple and the Contract Manufacturers informed Lenovo and Motorola that they

  8   will reference Trial Exhibits PTX2064 and PTX2776 in their opening statements. Apple and the

  9   Contract Manufacturers also informed Lenovo and Motorola that they will introduce the following

 10   exhibits at trial on April 16, 2019 or thereafter: PTX002064, PTX002412, PTX002520, PTX002540,

 11   PTX002645, PTX002776, PTX002895, PTX003083, PTX003110, and PTX003393. Apple and the

 12   Contract Manufacturers also notified Lenovo and Motorola of certain designations from the

 13   depositions of Ira Blumberg and Todd Madderom that they intend to play at trial on April 16, 2019.

 14   Finally, at 9:27 p.m. on April 14, 2019, Apple notified Lenovo and Motorola of additional “counter-

 15   designations” from the depositions of Ira Blumberg and Todd Madderom—after the deadline to do so

 16   pursuant to the Court’s Stipulated Trial Management Agreements. See Dkt. No. 1149.1

 17          Pursuant to the Court’s Order (Dkt. No. 1030), Lenovo and Motorola filed a Motion for Order

 18   to File Under Seal and supporting documents on April 1, 2019, Dkt. Nos. 1095 and 1096 (“Motion”),

 19   which moved to seal limited portions of certain trial exhibits and also provided support therefore.

 20   None of the parties opposed or objected to the portions Lenovo and Motorola sought to seal in these

 21   exhibits before the deadline on April 8, 2019 to do so. See Dkt. No. 1030.

 22          Given that Lenovo’s and Motorola’s Motion seeks to seal the exhibits disclosed to them on

 23   April 14, 2019 and that Motion is still pending, they respectfully request that the Court refer to that

 24   Motion, Dkt. Nos. 1095 and 1096, and order that the exhibits at issue be sealed. Lenovo and

 25

 26   1
        The deadline for non-parties, including Lenovo and Motorola, to review and seek to seal their
 27   confidential information pursuant to the Court’s Stipulated Trial Management Agreements is already
      very short (approx. 24 hours) and imposes a burden on entities that are not parties to this litigation or
 28   trial. See Dkt. No. 1149. At the very least, the parties must abide by their agreed-to deadlines under
      that order to avoid imposing an even more onerous burden on non-parties Lenovo and Motorola.

              LENOVO & MOTOROLA’S NOTICE REGARDING SEALING, No. 3:17-cv-00108-GPC-MDD
                                             -1-
Case 3:17-cv-00108-GPC-MDD Document 1153 Filed 04/15/19 PageID.123084 Page 3 of 4



  1   Motorola do not seek to seal any of the deposition designations disclosed by Apple and the Contract

  2   Manufacturers to be played on April 16, 2019.

  3          Specifically, Lenovo’s and Motorola’s Motion seeks to seal the following exhibits that Apple

  4   disclosed to be referenced in their opening statements and/or to be introduced at trial on April 16th or

  5   thereafter, incorporating the bases and support contained in their prior Motion and supporting

  6   documents, Dkt. Nos. 1095 and 1096:

  7   Exhibit         Info. Sought to be Sealed             Type of Info.              Explanation/Support
  8              Portions highlighted in pink in the Specific pricing/royalty          Dkt. No. 1095-1
      DTX00713 / unredacted version filed under rates; Business strategy               (“Madderom Decl.”)
  9   PTX002064  seal as Exhibit A, Dkt. No. 1096.                                     ¶¶ 3-4; Dkt. No. 1095
 10                   Portions highlighted in pink in the Business strategy;           Madderom Decl.
      PTX002412       unredacted version filed under Specific pricing/royalty          ¶ 13; Dkt. No. 1095
 11                   seal as Exhibit H, Dkt. No. 1096. rates
 12                   Portions highlighted in pink in the   Specific pricing/royalty   Madderom Decl.
      PTX002520       unredacted version filed under        rates; Business strategy   ¶ 14; Dkt. No. 1095
 13                   seal as Exhibit I, Dkt. No. 1096.
                      Portions highlighted in pink in the   Specific pricing/royalty   Madderom Decl.
 14   PTX002540       unredacted version filed under        rates; Business strategy   ¶ 15; Dkt. No. 1095
 15                   seal as Exhibit J, Dkt. No. 1096.
                      Portions highlighted in pink in the   Business strategy;         Madderom Decl.
 16   PTX002645       unredacted version filed under        Specific pricing/royalty   ¶ 21; Dkt. No. 1095
                      seal as Exhibit P, Dkt. No. 1096.     rates
 17
                  Portions highlighted in pink in the Business strategy;               Madderom Decl.
 18   PTX002775 / unredacted version filed under Specific pricing/royalty              ¶¶ 22-23; Dkt. No.
      PTX002776   seal as Exhibit Q, Dkt. No. 1096. rates                              1095
 19
                      Portions highlighted in pink in the Business strategy;           Madderom Decl.
 20   PTX002895       unredacted version filed under Specific pricing/royalty          ¶ 27; Dkt. No. 1095
                      seal as Exhibit U, Dkt. No. 1096. rates
 21
                      Portions highlighted in pink in the Business strategy;           Madderom Decl.
 22   PTX003083       unredacted version filed under Specific pricing/royalty          ¶ 29; Dkt. No. 1095
                      seal as Exhibit W, Dkt. No. 1096. rates; Financial info.
 23
                      Portions highlighted in pink in the   Specific pricing/royalty   Madderom Decl.
 24   PTX003110       unredacted version filed under        rates                      ¶ 30; Dkt. No. 1095
                      seal as Exhibit X, Dkt. No. 1096.
 25                   Portions highlighted in pink in the   Business strategy;         Madderom Decl.
      PTX003393       unredacted version filed under        Financial information      ¶ 31; Dkt. No. 1095
 26
                      seal as Exhibit Y, Dkt. No. 1096.
 27

 28

              LENOVO & MOTOROLA’S NOTICE REGARDING SEALING, No. 3:17-cv-00108-GPC-MDD
                                             -2-
Case 3:17-cv-00108-GPC-MDD Document 1153 Filed 04/15/19 PageID.123085 Page 4 of 4



  1
                                                /s/ Christina N. Goodrich
  2                                             Christina N. Goodrich (SBN 261722)
                                                K&L GATES LLP
  3                                             10100 Santa Monica Boulevard, Eighth Floor
                                                Los Angeles, CA 90067
  4                                             Telephone: (310) 552 5000
                                                Facsimile:     (310) 552 5001
  5                                             Email: christina.goodrich@klgates.com
                                                Attorneys for Lenovo (United States), Inc. and
  6    Dated: April 15, 2019                    Motorola Mobility LLC

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

            LENOVO & MOTOROLA’S NOTICE REGARDING SEALING, No. 3:17-cv-00108-GPC-MDD
                                           -3-
